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     R.D.G., II, Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children A.G. and J.G. No. 25SC285Supreme Court of Colorado, En BancFebruary 18, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA868
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    